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                   EXHIBIT D
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                       Transcript of the Testimony of:

                      Gary Michael Vilke, M.D.
                                         K.J.P.

                                           v.

                                 County of San Diego

                                     July 14, 2017

                                       Volume I
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       Gary Michael Vilke, M.D.                                            July 14, 2017

  ·1· ·which is what happened after the cardiac arrest, due to
  ·2· ·cardiopulmonary arrest with resuscitation following
  ·3· ·altercation -- physical altercation and restraint --
  ·4· ·which is true -- due to stimulant drug-related psychotic
  ·5· ·state.· And then contributing with was cardiac
  ·6· ·atherosclerosis.
  ·7· · · · · · I think all of those things are more or less in
  ·8· ·line with what I've put in there as well.· There is no
  ·9· ·notation of hyperkalemia causing the cardiac arrest,
  10· ·though, and that's the piece that I add in there.
  11· · · ·Q· · Okay.· So Dr. Campman did not note any
  12· ·hyperkalemic arrest?
  13· · · ·A· · He noted the cardiopulmonary arrest.· He didn't
  14· ·opine as to what specifically contributed or caused that
  15· ·beyond physical -- you know, the timing of it being post
  16· ·physical altercation and restraint and the drug-induced
  17· ·psychotic state.· So I think that that is a big
  18· ·component to it.
  19· · · ·Q· · Okay.· And just so -- what I'm trying to do is
  20· ·say -- so your opinions in this case as to cause of
  21· ·Mr. Phounsy's cardiac arrest and ultimate death are
  22· ·independent of Dr. Campman's.· That is, you made your
  23· ·opinions irrespective of what Dr. Campman did.
  24· · · ·A· · I made my opinions in them when I looked at
  25· ·what he said.· They're basically overlapping beyond the


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       Gary Michael Vilke, M.D.                                            July 14, 2017

  ·1· ·hyperkalemia.
  ·2· · · ·Q· · So let's say if Dr. Campman hypothetically
  ·3· ·changed some of his opinions, that would not affect your
  ·4· ·opinions?· Your opinions stand on their own?
  ·5· · · ·A· · Based on the objective data.· If he had new
  ·6· ·information that made him change his opinions, I'd like
  ·7· ·to see that.· But if he just changed them based on the
  ·8· ·same information then, no.
  ·9· · · ·Q· · Got it.· All right.
  10· · · · · · So let me talk to you about Mr. Phounsy's
  11· ·underlying cardiac disease, in your opinion.· What
  12· ·specifically was the underlying cardiac disease
  13· ·Mr. Phounsy suffered from?
  14· · · ·A· · He had an enlarged heart.· Not overall large,
  15· ·but he had a portion of his heart that was hypertrophic.
  16· · · ·Q· · Which portion?
  17· · · ·A· · Pulling up exactly.
  18· · · ·Q· · Are you talking about the papillary muscle?
  19· · · ·A· · The papillary muscle and I believe -- and the
  20· ·left ventricular wall was mildly thickened.
  21· · · ·Q· · Okay.· And what are you basing this on?
  22· · · ·A· · Basing it on the findings at the autopsy.
  23· · · ·Q· · Okay.· And what does that mean?· What does an
  24· ·enlarged heart mean in practical terms?
  25· · · ·A· · In practical terms, it means comparing to


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